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 6                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 7                                           AT SEATTLE

 8 UNITED STATES OF AMERICA,                              )
                                                          )
 9                                   Plaintiff,           )   Case No. CR06-425-MJP
                                                          )
10                            v.                          )   PROPOSED FINDINGS OF FACT
                                                          )   AND DETERMINATION AS TO
11 HECTOR MANUEL VILLA-SANCHEZ,                           )   ALLEGED VIOLATIONS OF
                                                          )   SUPERVISED RELEASE
12                                   Defendant.           )

13                                                INTRODUCTION

14       I conducted a hearing on alleged violations of supervised release in this case on December

15 28, 2010. The defendant appeared pursuant to warrant issued in this case. The United States

16 was represented by Douglas Belt Whalley, and defendant was represented by James Luis

17 Vonasch. Also present was Senior U.S. Probation Officer Steven R. Gregoryk. The proceedings

18 were digitally recorded.

19                                   SENTENCE AND PRIOR ACTION

20       Defendant was sentenced on August 10, 2007 by the Honorable Marsha J. Pechman for

21 Conspiracy to Distribute Methamphetamine. He received 12 months and 1 day of detention and

22 3 years of supervised release.

23       On November 27, 2007, the Court approved a no action report as a result of Mr. Villa-


     PROPOSED FINDINGS OF FACT AND DETERMINATION AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE - 1
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 1 Sanchez’s admitted use of cocaine on or before November 13, 2007.

 2       On March 19, 2008, the Court approved a no action report as a result of Mr. Villa-Sanchez’s

 3 use of cocaine on or before March 3, 2008. At that time, Mr. Villa-Sanchez was participating in

 4 an outpatient substance abuse treatment program.

 5       On August 4, 2008, the Court approved a modification of Mr. Villa-Sanchez’s supervision

 6 conditions to include the condition that he participate in the electronic monitoring program for a

 7 period of 120 days as a result of his admitted use of cocaine on July 4, 2008. This modification

 8 was later deleted at the request of the probation office since Mr. Villa-Sanchez had been

 9 sentenced in Skagit County Superior Court to a sentence of 10 months custody as a result of an

10 assault charge stemming from an incident occurring in 1995.

11       On August 1, 2010, the Court approved a voluntary modification to Mr. Villa-Sanchez’s

12 supervision which required him to participate in a residential reentry center (RRC) for a period

13 of 120 days.

14                              PRESENTLY ALLEGED VIOLATIONS

15       In a petition dated December 1, 2010, Senior U.S. Probation Officer Steven R. Gregoryk

16 alleged that defendant violated the following conditions of supervised release:

17       1.       Failure to submit to a urinalysis sample as instructed on November 29, 2010 and

18 November 30, 2010, in violation of the special condition of supervision which states that the

19 defendant shall submit to drug testing.

20       2.       Failure to follow the instruction of the probation officer on Novembers 30, 2010, in

21 violation of standard condition No. 3.

22                       FINDINGS FOLLOWING EVIDENTIARY HEARING

23       Defendant admitted the above violations, waived any hearing as to whether they occurred,


     PROPOSED FINDINGS OF FACT AND DETERMINATION AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE - 2
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 1 and was informed the matter would be set for a disposition hearing on January 11, 2011 before

 2 District Judge Marsha J. Pechman.

 3                       RECOMMENDED FINDINGS AND CONCLUSIONS

 4       Based upon the foregoing, I recommend the court find that defendant has violated the

 5 conditions of his supervised release as alleged above, and conduct a disposition hearing.

 6       DATED this 28th day of December, 2010.

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                                                        A
                                                        BRIAN A. TSUCHIDA
                                                        United States Magistrate Judge
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     PROPOSED FINDINGS OF FACT AND DETERMINATION AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE - 3
